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PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                  Jose Martin Jimenez

Docket Number:                  1:03CR05078-04 AWI

Offender Address:               Porterville, California

Judicial Officer:               Honorable Anthony W. Ishii
                                United States District Judge
                                Fresno, California

Original Sentence Date:         May 24, 2004

Original Offense:               18 USC 287 and 2, Making or Presenting a False,
                                Fictitious, or Fraudulent Claim Upon or Against the
                                United States, and Aiding and Abetting
                                (CLASS D FELONY)

Original Sentence:              18 months Bureau of Prisons; 36 months TSR; $100
                                SA; $31,013.59 restitution

Special Conditions:             1) Search and seizure; 2) Not dispose/dissipate assets;
                                3) Provide financial information; 4) No new credit; 5)
                                Surrender to INS for deportation proceedings, if
                                applicable

Type of Supervision:            Supervised Release (TSR)

Supervision Commenced:          May 28, 2004

Assistant U.S. Attorney:        Sheila K. Oberto          Telephone: (559) 499-4000

Defense Attorney:               Thomas J. Richardson      Telephone: (559) 264-6481

Other Court Action:             None




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                                                               V IO LA T IO N __R P T N O N -C O M P LIA N C E
                                                                            & O R D E R (P R O B 12A 1).M R G
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RE:    Jose Martin Jimenez
       Docket Number: 1:03CR05078-04 AWI
       REPORT OF OFFENDER NON-COMPLIANCE


                             NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.    UNSATISFIED RESTITUTION OBLIGATION AT EXPIRATION OF SUPERVISION


Details of alleged non-compliance: Supervision commenced on May 28, 2004. During
the past 36 months, the offender has made diligent efforts toward his restitution obligation
in this case.

Accordingly, the offender paid his special assessment ($100) in full on October 5, 2004.
At that time, his monthly payments were directed toward his outstanding restitution order
($31,013.59).

The offender's monthly payment history has been steady and consistent, paying a total of
$1,100 toward his restitution order. During his supervision period, the offender has been
a single parent raising his four children (co-defendant wife was deported following her
conviction/sentence). He has steadily maintained employment as a farm laborer,
supporting and meeting the financial needs of his family.

United States Probation Officer Plan/Justification: In review, the offender has been
very diligent toward his financial obligations. He is scheduled to expire from supervision
on May 27, 2007.

This officer recommends that this offender expire with no further action taken, and that his
financial responsibilities be turned over to the United States Attorney, Financial Litigation
Unit (FLU), for continued recovery of restitution.




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RE:      Jose Martin Jimenez
         Docket Number: 1:03CR05078-04 AWI
         REPORT OF OFFENDER NON-COMPLIANCE


                                     Respectfully submitted,

                                     /s/ Ben J. Blankenship

                                   Ben J. Blankenship
                              United States Probation Officer
                                Telephone: (559) 734-0317

DATED:         May 21, 2007
               Visalia, California

REVIEWED BY:          /s/ Rick C. Louviere
                      Rick C. Louviere
                      Supervising United States Probation Officer


THE COURT ORDERS:

(W)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken.

( )   Other:


IT IS SO ORDERED.

Dated:    May 29, 2007                            /s/ Anthony W. Ishii
0m8i78                                      UNITED STATES DISTRICT JUDGE




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                                                3                            & O R D E R (P R O B 12A 1).M R G
